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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION

                        CIVIL ACTION NO: 0:09-CV-0053-CMC

Bobbie M. Sedberry and John C. Sedberry, )
                                         )
             Plaintiffs,                 )
                                         )
                                                   MEMORANDUM IN OPPOSITION
      vs.                                )
                                                      TO THE DEFENDANTS’
                                         )
                                                        MOTION IN LIMINE
DonB Aircraft International, Inc. and    )
                                                   REGARDING DR. STEVENSON
Donald R. Bennett,                       )
                                         )
             Defendants.                 )
                                         )



       In May of 2009, Dr. Michael Stevenson issued his report in connection with the

crash of the Plaintiffs’ airplane. Two months later, Dr. Charles Manning, an expert hired

on behalf of the Defendants, issued his report related to the same crash. That later

report raised issues which had not been addressed by Dr. Stevenson initially.          In

addressing those new issues, Dr. Stevenson called and spoke with Mr. Rick Moffitt, the

former chief engineer of Lycoming Engines. The Defendants now contend that even in

refuting the opinions offered by Dr. Manning, Dr. Stevenson should not be allowed to

refer to the engineering information received from Mr. Moffitt.

       As related by Dr. Stevenson when his deposition was taken on October 2, 2009,

there were two material subjects discussed with Mr. Moffitt.      First was whether an

increase in engine horsepower would affect the connection of the crankshaft gear to the

crankshaft. Second was whether the dowel in the end of the crankshaft was just there

for alignment purposes or whether it carried torque as the engine turned. We note for




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the Court that the Defendants made no reference to this second issue in their Motion or

Memorandum in Limine, so we shall address it only briefly.

      The pertinent testimony in Dr. Stevenson’s deposition begins with defense

counsel asking Dr. Stevenson his opinion about a portion of Dr. Manning’s report, which

portion is highlighted as Exhibit A to this Memorandum. The entire Manning report was

attached to the Defendants’ Memorandum in their Motion. Pages 116 and 117 of Dr.

Stevenson’s deposition are set out as Exhibit B. He says he does not agree with Dr.

Manning that there is a relationship between higher horsepower and the requirement for

a larger bolt. He explains that he did not see anywhere in Service Bulletin 475C that

there was any mention of horsepower. He referred to his discussions with Mr. Moffitt

and to his understanding of the factual history and the engine timeline. In using the

information provided by Mr. Moffitt, Mr. Stevenson was using a “belt and suspenders

approach.” That is, he used the Moffitt opinion to support his own disagreement with

the comment offered by Dr. Manning. It is not expected that Dr. Stevenson will testify

about this matter unless Dr. Manning should attempt to offer his own views about what

Lycoming requires. Thus far, Dr. Manning has offered no documents or other evidence

to verify his own view of Lycoming’s requirements about a larger bolt or greater torque.

      Defendants have raised a question about whether the engine in the plane which

crashed was really a Lycoming engine because there had been some modifications to

the engine years before the crash.       In making that argument to the Court, the

Defendants rely upon the testimony of Sammy Bereznak, a mechanical expert proffered

by the Plaintiffs. They quote him as saying that because of the modifications, Lycoming

would no longer consider the engine to be a Lycoming engine, but he goes ahead to




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unequivocally state that he still considered it a Lycoming engine, referring to the data

plate, which has Lycoming’s name prominently displayed, and the purchase of parts

which come from Lycoming. See Page 72 of Bereznak’s deposition attached as Exhibit

C.

       Dr. Manning, in the first full paragraph on Page 5 of his discussions, suggests

that the dowel pin restrained the torque imposed on the gear until it fractured, at which

point the torque was solely borne by the bolt, which then lost its torque.            Dr.

Stevenson’s initial report had opined that the sequence was that the bolt first came

loose and that the striking of the loosened gear against the dowel finally caused the

dowel to fracture. So, the experts disagreed about the sequence of the failure and over

the question of whether the dowel pin was actually designed to restrain torque, or

whether it was just there to assure proper alignment for timing of the engine, as opined

by Dr. Stevenson. (Dr. Stevenson’s testimony at p. 57, pp. 106-109, and p. 118 is

attached as Exhibit D.) That prompted his conversation with Mr. Rick Moffitt to validate

what he had already concluded, i.e. that the dowel was there only as a guide. (Page

109 of Exhibit D.)

       In Defendants’ Memorandum, they rely heavily upon the case of Eberli v. Cirrus

Design Corp., 615 F. Supp.2d 357 (S.D. Fla. 2009). In that case, the expert, whose

testimony was not allowed, relied solely upon the testing and report undertaken by

someone else. The court twice referred to the fact that the expert opinion was based

solely on the testing done by another expert. That is not the case here, since the

information from the chief engineer at Lycoming only verified the conclusion reached by




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Dr. Stevenson. This is not a case where Dr. Stevenson is merely “regurgitating another

expert’s opinion.”

       In summary, it is appropriate in anticipating Dr. Manning’s differing opinion that

Dr. Stevenson should be allowed to rely upon the information he received from the

retired chief engineer of Lycoming.



                                         Respectfully submitted,


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March 11, 2010




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